Case 1:21-md-03010-PKC                  Document 860           Filed 07/10/24   Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x

IN RE: GOOGLE DIGITAL ADVERTISING                                        21-md-3010 (PKC)
ANTITRUST LITIGATION

                                                                                 ORDER

                                                                    THIS ORDER APPLIES TO:
                                                                    Cliffy Care Landscaping LLC
                                                                    v. Google LLC, 21 Civ. 7001
                                                                    (PKC)
-----------------------------------------------------------x
CASTEL, Senior District Judge:

                 The Court is sympathetic to the circumstances outlined in the letter of June

28, 2024 (ECF 855) relating to the sole proprietor of Cliffy Care Landscaping LLC (“Cliffy

Care”). The Court is also understanding of Google’s position that no witness has been

produced by Cliffy Care for deposition (ECF 852).

                 The Court will require the following additional information to be filed under

seal by Cliffy Care by July 18:

                 1.       A representation from a treating physician setting forth: the

physician’s credentials and relationship to the patient; the patient’s age, gender and

diagnosed medical conditions and prognosis; and the treating physician’s opinion of when,

if ever, the patient is likely to be physically able to sit for an examination under oath of not

more than seven hours in length;

                 2.       In view of the submission of Cliffy Care, that states that the patient

“has resumed running many aspects of his business” but cannot provide oral deposition

testimony,” a declaration from the individual setting forth the nature of work performed

during the month of June 2024, including the number of hours worked;
Case 1:21-md-03010-PKC            Document 860         Filed 07/10/24      Page 2 of 2



               3.      In view of the submission of Cliffy Care that another individual “had

stepped in and become knowledgeable regarding Cliffy Care’s digital advertising,” the

identity of that individual, the length and nature of the individual’s work for Cliffy Care

and the reason the individual is unavailable for a Rule 30(b)(6) deposition until some

unspecified date in August; and

               4.      For each year in the six years predating the institution of this action,

the dollar volume of digital advertising purchased directly through Google or indirectly

utilizing a tool, platform or service offered by Google.

               The offer made by Cliffy Care delays a deposition by the sole proprietor or a

Rule 30(b)(6) substitute until possibly late August with no stated consequence if an

adequately knowledgeable witness is not produced by then. The Court agrees that a written

deposition is not an adequate substitute. The parties are urged to explore other alternatives.

               The Clerk is directed to terminate the motion. (21 MD 3010, ECF 852; 21

Civ. 7001, ECF 211.)

               SO ORDERED.




Dated: New York, New York
       July 10, 2024




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